           3:06-cv-03020-HAB-CHE # 117              Page 1 of 1
                                                                                                       E-FILED
AO 450 (Rev. 5/85) Judgment in a Civil Case                              Friday, 14 March, 2008 02:44:11 PM
                                                                               Clerk, U.S. District Court, ILCD

                           United States District Court
                                     CENTRAL DISTRICT OF ILLINOIS


                                 JUDGMENT IN A CIVIL CASE


MICHAEL THOMAS,
Plaintiff,


           vs.                                                                          Case Number:    06-3020


BYRON LAW, ET AL,
Defendants.

     JURY VERDICT. This action came before the Court for a trial by jury. The issues have been tried and the jury
has rendered its verdict.


      DECISION BY THE COURT. This action came to trial or hearing before the Court. The issues have been
tried or heard and a decision has been rendered.


      IT IS ORDERED AND ADJUDGED that on March 13, 2008, defendant Kevin Rigg, was dismissed under
Rule 50 judgment as a matter of law.

      IT IS FURTHER ORDERED AND ADJUDGED that judgment is entered in favor of all the defendants and
against the plaintiff. The parties shall bear their own costs.


                                                     ENTER this 14th day of March 2008.



                                               s/PAMELA E. ROBINSON, CLERK
                                                  PAMELA E. ROBINSON, CLERK



                                                            s/K. Wynn
                                                          BY: DEPUTY CLERK
